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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            ) Chapter 11
                                                                  )
Z GALLERIE, LLC, et al.,1                                         ) Case No. 19-10488 (___)
                                                                  )
                                   Debtors.                       ) (Joint Administration Requested)
                                                                  )

                      DEBTORS’ MOTION SEEKING
                  ENTRY OF AN ORDER (I) APPROVING
           THE BIDDING PROCEDURES, (II) SCHEDULING THE BID
       DEADLINES AND THE AUCTION, (III) APPROVING THE FORM AND
     MANNER OF NOTICE THEREOF, AND (IV) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (this “Motion”):2

                                               Relief Requested

         1.        The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Bidding Procedures Order”):                  (a) authorizing and approving the proposed

bidding procedures annexed to the Bidding Procedures Order as Exhibit 1 (the “Bidding

Procedures”); (b) establishing certain dates and deadlines including, the Indication of Interest

Deadline, the Bid Deadline, and the Auction Date, if any; (c) approving the manner of notice of

the Auction, if any; and (d) granting related relief.


1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Z Gallerie, LLC (3816) and Z Gallerie Holding Company, LLC (5949). The location of the
    Debtors’ service address is: 1855 West 139th Street, Gardena, CA 90249.
2   A detailed description of the Debtors and their business, and the facts and circumstances supporting the
    Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Mark Weinsten, Interim President
    and Chief Executive Officer of Z Gallerie, LLC, in Support of Chapter 11 Petitions and First Day Motions (the
    “First Day Declaration”) filed contemporaneously with the Debtors’ voluntary petitions for relief filed under
    chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) on March 11, 2019 (the “Petition
    Date”). Capitalized terms used but not otherwise defined in this Motion shall have the meanings given to them
    in the First Day Declaration or the Bidding Procedures, as applicable.


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                                       Jurisdiction and Venue

        2.         The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 9013-1(f) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

        3.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.         The statutory bases for the relief requested herein are sections 105, 363, 365,

and 1146(a) of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006, and Local Rules

2002-1, 6004-1, and 9006-1.

                                       The Bidding Procedures

        5.         By this Motion, the Debtors seek to establish Bidding Procedures for the Auction

of their Assets. The Sale will ultimately be consummated as part of the Plan filed

contemporaneously herewith, with sale proceeds being used as a source of recovery for creditors

and the Plan providing finality to all stakeholders in these chapter 11 cases. The Debtors believe

that the Bidding Procedures will best facilitate an orderly, value-maximizing Auction, thereby

maximizing recoveries under the Plan for all creditors. Significantly, the Auction is supported by

the Prepetition Secured Lenders and incremental financing under the DIP Financing is

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conditioned on progress made in the Auction process. The Bidding Procedures and Plan provide

for substantial flexibility with respect to the structure of any Transaction—e.g., the sale of all or

only some of the Debtors’ assets—and allow the Debtors to select a Stalking Horse Bidder and

provide Bid Protections on the terms described in the Bidding Procedures if the Debtors believe,

in an exercise of their business judgement, that doing so will maximize the value of the estate.

        6.         Consistent with this goal, the Debtors’ investment banker, Lazard Middle Market,

LLC (“Lazard”), began a marketing process related to the Assets in early March 2019. In

consultation with Lazard, the Debtors have developed a list of parties whom they believe may be

interested in, and whom the Debtors reasonably believe would have the financial resources to

consummate, a Transaction. The list of parties includes both strategic and financial investors

(collectively, the “Contact Parties”).      As of the date hereof, several Contact Parties are

negotiating confidentiality agreements with the Debtors and expect to begin conducting the

diligence necessary to analyze the opportunity in short order. Lazard and the Company will work

with these interested parties and all Contact Parties to provide all diligence and will continue to

actively seek potential interested purchasers.

        7.         Significantly, maximizing the value of the Debtors’ estates requires that the

Debtors proceed swiftly to confirmation of the Plan, minimizing the incremental costs associated

with the Debtors’ chapter 11 cases and preserving the value of the Debtors’ “brand”—a critical

component of the value of the Debtors’ businesses. The Bidding Procedures are designed to—

and the Debtors believe the Bidding Procedures will operate to—maximize the likelihood of a

competitive bidding process.

        8.         To maximize the competitiveness of any bidding process, the Debtors also seek

authority, but not direction, to (a) select one or more party to act as a stalking horse bidder

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(a) “Stalking Horse Bidder”) and (b) in connection with any Stalking Horse Bidder and related

agreement, provide a Breakup Fee, Expense Reimbursement, or Work Fee, each as defined and

described in the Bidding Procedures, in an amount not to exceed, in the aggregate, 3 percent of

the proposed purchase price.

                                     The Bidding Procedures Order

I.       The Bidding Procedures.

         9.        The Debtors have developed and proposed the Bidding Procedures, attached as

Exhibit 1 to the Bidding Procedures Order, to govern the Auction process.                        The Debtors

designed the Bidding Procedures to encourage all entities to expeditiously put their best bids

forward and to maximize the value of the Debtors’ estates through a competitive Auction

process. The following describes the salient points of the Bidding Procedures and discloses

certain information required pursuant to Local Rule 6004-1:3

                   (a)    Participation Requirements.

                          (i)      To receive due diligence information, including full access to the
                                   Debtors’ electronic data room and to additional non-public
                                   information regarding the Debtors, a Potential Bidder must deliver
                                   to each of: (i) proposed counsel to the Debtors, Kirkland &
                                   Ellis LLP, 601 Lexington Avenue, New York, New York 10022,
                                   Attn: Joshua A. Sussberg (joshua.sussberg@kirkland.com) and
                                   300 North LaSalle Street, Chicago, Illinois 60654, Attn: Justin
                                   Bernbrock (justin.bernbrock@kirkland.com) and Joshua Altman
                                   (joshua.altman@kirkland.com); and (ii) Lazard Middle Market,
                                   LLC, 600 Fifth Avenue Suite 800, New York, New York 10020,
                                   Attn:      Jason Cohen (jason.cohen@lazard.com); Dermott
                                   O’Flanagan (demott.oflanagan@lazard.com) and Bradley Kessel
                                   (bradley.kessel@lazard.com) (the “Debtors’ Advisors”), the
                                   following      documents      (collectively,      the “Preliminary
                                   Bid Documents”):


3    This summary is qualified in its entirety by the Bidding Procedures attached as Exhibit 1 to the Bidding
     Procedures Order. To the extent there are any conflicts between this summary and the Bidding Procedures, the
     terms of the Bidding Procedures shall govern.

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                             (A)    an executed Confidentiality Agreement on terms acceptable
                                    to the Debtors, to the extent not already executed; and

                             (B)    evidence by the Potential Bidder of its financial capacity to
                                    close a proposed Transaction, which may include financial
                                    statements of, or verified financial commitments obtained
                                    by, the Potential Bidder (or, if the Potential Bidder is an
                                    entity formed for the purpose of acquiring the Assets, the
                                    party that will bear liability for a breach), the adequacy of
                                    which will be assessed by the Debtors (with the assistance
                                    of the Debtors’ Advisors) in consultation with the
                                    Consultation Parties and the official committee of
                                    unsecured creditors (the “Committee”), if one has been
                                    appointed.

                     (ii)    Promptly after a Potential Bidder delivers Preliminary Bid
                             Documents, the Debtors will determine and notify the Potential
                             Bidder whether such Potential Bidder has submitted acceptable
                             Preliminary Bid Documents so that the Potential Bidder may
                             proceed to conduct due diligence and ultimately submit a Bid as
                             defined in the Bidding Procedures and participate in the Auction,
                             as applicable, and will provide copies of any such notices to the
                             Notice Parties and to counsel to the Committee, if one has been
                             appointed. Only those Potential Bidders that have submitted
                             acceptable Preliminary Bid Documents, as determined by the
                             Debtors in consultation with the Consultation Parties and the
                             Committee (each, an “Acceptable Bidder”), may submit Bids.

                     (iii)   Beginning on or as soon as is reasonably practicable after the
                             Debtors determine that a Potential Bidder is an Acceptable Bidder,
                             the Debtors will provide such Acceptable Bidder with access to an
                             electronic data room and reasonable due diligence information, as
                             requested by such Acceptable Bidder, as soon as reasonably
                             practicable after such request, and the Debtors shall post
                             substantially all written due diligence provided to any Acceptable
                             Bidder to the Debtors’ electronic data room. All due diligence
                             requests must be directed to Lazard. To the extent reasonably
                             practicable, Lazard will also facilitate meetings between any
                             interested Acceptable Bidder and the Debtors’ management team,
                             which meetings will proceed in a manner determined by the
                             Debtors, in their discretion. The due diligence period will end on
                             the Bid Deadline, as defined below, and, subsequent to the Bid
                             Deadline, the Debtors will have no obligation to furnish any due
                             diligence information.



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                         (iv)   The Debtors and their advisors will coordinate all reasonable
                                requests from Acceptable Bidders for additional information and
                                due diligence access; provided that the Debtors may, in
                                consultation with the Consultation Parties and the Committee,
                                decline to provide such information to Acceptable Bidders who, at
                                such time and in the Debtors’ business judgment, have not
                                established, or who have raised doubt, that such Acceptable Bidder
                                intends in good faith to, or has the capacity to, consummate a
                                Transaction.

                         (v)    For any Acceptable Bidder who is a competitor of the Debtors or is
                                affiliated with any competitor of the Debtors, the Debtors reserve
                                the right to withhold, or to delay providing, any diligence materials
                                that the Debtors determine are business-sensitive or otherwise
                                inappropriate for disclosure to such Bidder at such time. Each
                                Acceptable Bidder shall comply with all reasonable requests for
                                additional information and due diligence access by the Debtors or
                                their advisors regarding such Acceptable Bidder and its
                                contemplated Transaction.

                   (b)   Non-Binding Indications of Interest.

                         (i)    Any party interested in a Transaction (regardless of whether such
                                party has been determined to be an Acceptable Bidder) shall
                                submit a non-binding indication of interest (an “Indication of
                                Interest”) on or before April 19, 2019, at 5:00 p.m. (prevailing
                                Eastern Time) (as may be extended without notice or hearing by
                                the Debtors, the “Indication of Interest Deadline”). The Indication
                                of Interest should (i) identify whether the party is interested in
                                acquiring some or all of the Assets (and which Assets with
                                reasonable specificity) or the Reorganized Debtors’ equity
                                interests, (ii) set forth a proposed purchase price for the proposed
                                Transaction, including by identifying separately any cash and non-
                                cash components of the proposed Transaction consideration,
                                including, for example, certain liabilities to be assumed, and (iii)
                                identify any proposed conditions to closing the Transaction.

                         (ii)   Indications of Interest should be submitted to the Debtors’
                                Advisors by the Indication of Interest Deadline. The Debtors
                                Advisors shall deliver any Indication of Interest received to the
                                Notice Parties and the Committee within two business days of
                                receipt, or as soon as reasonably practicable thereafter. Note that
                                submitting an Indication of Interest by the Indication of Interest
                                Deadline does not obligate the submitting party to submit a formal
                                bid or to participate in the sale process and does not exempt the
                                submitting party from also having to submit a Qualified Bid by the
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                                 Bid Deadline to participate in the Auction, each as defined below.
                                 For the avoidance of doubt, the submission of an Indication of
                                 Interest by the Indication of Interest Deadline is not a prerequisite
                                 for Potential Bidders to submit a Qualified Bid.

                   (c)   Stalking Horse Bid Deadline and Bid Protections. The Debtors may, at
                         any time until two days prior to the Auction, as an exercise of their
                         business judgment and in consultation with the Committee, select one or
                         more party to be a Stalking Horse Bidder with respect to some or all of the
                         Debtors’ Assets and provide such stalking Horse Bidder with Bid
                         Protections, as defined in the Bidding Procedures.

                   (d)   Bid Deadline. An Acceptable Bidder that desires to make a proposal,
                         solicitation, or offer (each, a “Bid”) shall transmit such proposal,
                         solicitation, or offer via email (in pdf or similar format) so as to be
                         actually received on or before May 16, 2019, at 5:00 p.m. (prevailing
                         Eastern Time) (the “Bid Deadline”).

                   (e)   Bid Requirements (Local Bankr. R. 6004-1(c)(i)(A), (B)). Each Bid by
                         an Acceptable Bidder (a “Bidder”) must be submitted in writing and
                         satisfy the following requirements (collectively, the “Bid Requirements”):

                         (i)     Purpose. Each Acceptable Bidder must state that the Bid includes
                                 an offer by the Acceptable Bidder to purchase some or all of the
                                 Assets, and which Assets with reasonable specificity.

                         (ii)    Purchase Price: Each Bid must clearly set forth the terms of any
                                 proposed Transaction, including and identifying separately any
                                 cash and non-cash components of the proposed Transaction
                                 consideration, including, for example, certain liabilities to be
                                 assumed by the Acceptable Bidder as part of the Plan
                                 (the “Purchase Price”).

                         (iii)   Deposit: Each Bid must be accompanied by a cash deposit in the
                                 amount equal to 10% of the aggregate value of the cash and
                                 non-cash consideration of the Bid to be held in an escrow account
                                 to be identified and established by the Debtors (the “Deposit”).

                         (iv)    Marked Agreement: Each Bid must include, at a minimum, a draft
                                 asset purchase agreement (the form of which will be provided to
                                 any Acceptable Bidder prior to the Bid Deadline (the “Asset
                                 Purchase Agreement”)) together with a redline version of the
                                 revised Asset Purchase Agreement to the form, including the
                                 exhibits and schedules related thereto and any related Transaction
                                 documents or other material documents integral to such Bid,
                                 pursuant to which the Acceptable Bidder proposes to effectuate the
                                 Transaction (collectively, the “Transaction Documents”).
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                     (v)     Committed Financing: To the extent that a Bid is not accompanied
                             by evidence of the Acceptable Bidder’s capacity to consummate
                             the Transaction set forth in its Bid with cash on hand, each Bid
                             must include committed financing documented to the Debtors’
                             satisfaction, after consultation with the Consultation Parties and
                             the Committee, that demonstrates that the Acceptable Bidder has
                             received sufficient debt and/or equity funding commitments to
                             satisfy the Acceptable Bidder’s Purchase Price and other
                             obligations under its Bid. Such funding commitments or other
                             financing must be unconditional and must not be subject to any
                             internal approvals, syndication requirements, diligence, or credit
                             committee approvals, and shall have covenants and conditions
                             acceptable to the Debtors. For the avoidance of doubt, funding
                             commitments for any Acceptable Bidder’s Purchase Price may be
                             provided by the DIP Lender.

                     (vi)    Contingencies; No Financing or Diligence Outs: A Bid shall not
                             be conditioned on the obtaining or the sufficiency of financing or
                             any internal approval, or on the outcome or review of due
                             diligence, but may be subject to the accuracy at the closing of
                             specified representations and warranties or the satisfaction at the
                             closing of specified conditions.

                     (vii)   Identity: Each Bid must fully disclose the identity of each entity
                             that will be bidding or otherwise participating in connection with
                             such Bid (including each equity holder or other financial backer of
                             the Acceptable Bidder if such Acceptable Bidder is an entity
                             formed for the purpose of consummating the proposed Transaction
                             contemplated by such Bid), and the complete terms of any such
                             participation. Under no circumstances shall any undisclosed
                             principals, equity holders, or financial backers be associated with
                             any Bid. Each Bid must also include contact information for the
                             specific person(s) and counsel whom the Debtors’ Advisors should
                             contact regarding such Bid.

                     (viii) Authorization:     Each Bid must contain evidence that the
                            Acceptable Bidder has obtained authorization or approval from its
                            board of directors (or a comparable governing body acceptable to
                            the Debtors) with respect to the submission of its Bid and the
                            consummation of the Transactions contemplated in such Bid.

                     (ix)    As-Is, Where-Is:        Each Bid must include a written
                             acknowledgement and representation that the Acceptable Bidder:
                             (1) has had an opportunity to conduct any and all due diligence
                             regarding the Assets prior to making its offer; (2) has relied solely
                             upon its own independent review, investigation, and/or inspection
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                               of any documents and/or the Assets in making its Bid; and (3) did
                               not rely upon any written or oral statements, representations,
                               promises, warranties, or guaranties whatsoever, whether express,
                               implied by operation of law, or otherwise, regarding the Assets or
                               the completeness of any information provided in connection
                               therewith or the Auction, except as expressly stated in the Bidder’s
                               Transaction Documents.

                         (x)   By submitting its Bid, each Bidder is agreeing, and shall be
                               deemed to have agreed, to abide by and honor the terms of the
                               Bidding Procedures and to refrain from submitting a Bid or
                               seeking to reopen the Auction after conclusion of the Auction. The
                               submission of a Bid shall constitute a binding and irrevocable offer
                               to acquire the Assets or the Reorganized Debtors’ equity interests
                               reflected in such Bid.

                   (f)   Designation of Qualified Bidders.

                         (i)   A Bid will be considered a “Qualified Bid,” and each Acceptable
                               Bidder that submits a Qualified Bid will be considered a “Qualified
                               Bidder,” if the Debtors determine in their business judgment, and
                               after consultation with the Consultation Parties and the Committee,
                               that such Bid:

                               (A)    satisfies the Bid Requirements set forth above;

                               (B)    is reasonably likely (based on availability of financing,
                                      antitrust, or other regulatory issues, experience, and other
                                      considerations) to be consummated, if selected as the
                                      Winning Bid, as defined below, within a time frame
                                      acceptable to the Debtors; and

                               (C)    Within two business days after the Bid Deadline, the
                                      Debtors will notify each Qualified Bidder whether such
                                      party is a Qualified Bidder and shall provide the Notice
                                      Parties and counsel to the Committee a copy of each
                                      Qualified Bid.

                               (D)    If any Bid is determined by the Debtors not to be
                                      a Qualified Bid, the Debtors will refund such Acceptable
                                      Bidder’s Deposit on the date that is three business days
                                      after the Bid Deadline, or as soon as is reasonably
                                      practicable thereafter.

                               (E)    Between the date that the Debtors notify an Acceptable
                                      Bidder that it is a Qualified Bidder and the Auction, the
                                      Debtors may discuss, negotiate, or seek clarification of any
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                                       Qualified Bid from a Qualified Bidder. Without the prior
                                       written consent of the Debtors, a Qualified Bidder may not
                                       modify, amend, or withdraw its Qualified Bid, except for
                                       proposed amendments to increase their Purchase Price, or
                                       otherwise improve the terms of, the Qualified Bid, during
                                       the period that such Qualified Bid remains binding as
                                       specified in the Bidding Procedures; provided that any
                                       Qualified Bid may be improved at the Auction as set forth
                                       in the Bidding Procedures. Any improved Qualified Bid
                                       must continue to comply with the requirements for
                                       Qualified Bids set forth in the Bidding Procedures.

                                (F)    Notwithstanding anything herein to the contrary, the
                                       Debtors reserve the right to work with (a) Potential Bidders
                                       and Approved Bidders to aggregate two or more
                                       Indications of Interest or Bids into a single consolidated
                                       Bid prior to the Bid Deadline or (b) Qualified Bidders to
                                       aggregate two or more Qualified Bid into a single
                                       Qualifying Bid prior to the conclusion of the Auction. The
                                       Debtors reserve the right to cooperate with any Bidder in
                                       advance of the Auction to cure any deficiencies in a Bid
                                       that is not initially deemed to be a Qualified Bid. The
                                       Debtors may accept a single Qualified Bid or multiple Bids
                                       for non-overlapping material portions of the Assets such
                                       that, if taken together in the aggregate, would otherwise
                                       meet the standards for a single Qualified Bid (in which
                                       event those multiple bidders shall be treated as a single
                                       Qualified Bidder for purposes of the Auction). For the
                                       avoidance of doubt, the Prepetition Secured Lenders are
                                       deemed to be Qualified Bidders and may credit bid, as set
                                       forth below.

                   (g)   Right to Credit Bid.

                         (i)    Any Qualified Bidder who has a valid and perfected lien on any
                                Assets of the Debtors’ estates (a “Secured Creditor”) shall have the
                                right to credit bid all or a portion of the value of such Secured
                                Creditor’s claims within the meaning of section 363(k) of the
                                Bankruptcy Code; provided that a Secured Creditor shall have the
                                right to credit bid its claim only with respect to the collateral by
                                which such Secured Creditor is secured.

                         (ii)   Notwithstanding anything to the contrary contained herein, the
                                Prepetition Secured Creditors shall have the right to credit bid all
                                or any portion of the aggregate amount of its applicable
                                outstanding secured obligations pursuant to section 363(k) of the
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                                 Bankruptcy Code, and any such credit bid will be considered a
                                 Qualified Bid to the extent such bid is received by the Bid
                                 Deadline and complies with section 363(k) of the Bankruptcy
                                 Code; provided that a credit bid shall not constitute a Qualified Bid
                                 if the bid does not (a) include a cash component sufficient to pay in
                                 full, in cash, all claims for which there are valid, perfected and
                                 unavoidable liens on any assets included in such Bid that are senior
                                 in priority to those of the party seeking to credit bid (unless such
                                 senior lien holder consents to alternative treatment) or (b) comply
                                 with the terms of the priority scheme contained in the Prepetition
                                 Credit Agreement , defined in the Plan, the Bidding Procedures
                                 Order, Dip documents, and the DIP Order as defined in the Plan.

                   (h)   The Auction.

                         (i)     If the Debtors receive two or more Qualified Bids, the Debtors will
                                 conduct the Auction to determine the Winning Bidder with respect
                                 to all or substantially all of the Debtors’Assets. The Auction shall
                                 take place at 9:00 a.m. (prevailing Eastern Time) on May 20, 2019,
                                 at the offices of Kirkland & Ellis LLP, 601 Lexington Avenue,
                                 New York, New York 10022, or such later date and time as
                                 selected by the Debtors in their sole discretion or such later date
                                 and time as selected by the Debtors in their sole discretion.

                         (ii)    No later than May 19, 2019, at 5:00 p.m. (prevailing Eastern
                                 Time), the Debtors, after consultation with the Consultation Parties
                                 and the Committee, will notify all Qualified Bidders of the highest
                                 or otherwise best Qualified Bid, as determined in the Debtors’
                                 business judgment (the “Baseline Bid”), and provide copies of the
                                 documents supporting the Baseline Bid to all Qualified Bidders.
                                 The determination of which Qualified Bid constitutes the Baseline
                                 Bid and which Qualified Bid constitutes the Winning Bid shall
                                 take into account any factors the Debtors reasonably deem relevant
                                 to the value of the Qualified Bid to the Debtors’ estates, including,
                                 among other things: (a) the type and amount of Assets sought to
                                 be purchased in the Bid; (b) the amount and nature of the total
                                 consideration; (c) the likelihood of the Bidder’s ability to close a
                                 transaction and the timing thereof; (d) the net economic effect of
                                 any changes to the value to be received by the Debtors’ estates
                                 from the transaction contemplated by the Baseline Bid; and (e) the
                                 tax consequences of such Qualified Bid (collectively, the “Bid
                                 Assessment Criteria”).

                         (iii)   The Auction shall be conducted in a timely fashion according to
                                 the following procedures:


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                           (A)     The Debtors Shall Conduct the Auction:

                                   •       The Debtors and their professionals shall direct and
                                           preside over the Auction. At the start of the
                                           Auction, the Debtors shall describe the terms of the
                                           Baseline Bid. All incremental Bids made thereafter
                                           shall be Overbids, as defined in the Bidding
                                           Procedures, and shall be made and received on an
                                           open basis, and all material terms of each Overbid
                                           shall be fully disclosed to all other Qualified
                                           Bidders. The Debtors shall maintain a written
                                           transcript of all Bids made and announced at the
                                           Auction, including the Baseline Bid, all Overbids,
                                           and the Winning Bid.

                                   •       Only Qualified Bidders that have submitted
                                           Qualified Bids by the Bid Deadline are eligible to
                                           participate in the Auction, subject to other
                                           limitations as may be reasonably imposed by the
                                           Debtors in accordance with these Bidding
                                           Procedures and in consultation with the
                                           Consultation      Parties.     Qualified      Bidders
                                           participating in the Auction must appear in person
                                           at the Auction, or through a duly authorized
                                           representative. The Auction will be conducted
                                           openly and all creditors may be permitted to attend;
                                           provided that the Debtors may, in their sole and
                                           exclusive discretion, establish a reasonable limit to
                                           the number of representatives and/or professional
                                           advisors that may appear on behalf of or accompany
                                           each Qualified Bidder or creditor at the Auction. In
                                           addition, professionals and/or representatives of the
                                           Consultation Parties will be permitted to attend and
                                           observe the Auction. Any creditor wishing to
                                           attend the Auction may do so by contacting, no later
                                           than three (3) business days prior to the start of the
                                           Auction, the Debtors’ advisors.

                           (B)     Terms of Overbids (Local Bankr. R. 6004-1(c)(i)(C)):
                                   “Overbid” means any bid made at the Auction by a
                                   Qualified Bidder subsequent to the Debtors’ announcement
                                   of the Baseline Bid. Each Overbid must comply with the
                                   following conditions:

                                   •       Minimum Initial Overbid. Any Overbid following
                                           the Baseline Bid shall be no less than the value of
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                                           the Bid Protections, if any, plus a value equal to
                                           $250,000, as determined by the Debtors in an
                                           exercise of their business judgment, after
                                           consultation with the Consultation Parties and the
                                           Committee.

                                   •       Minimum Overbid Increment. Any Overbid to a
                                           Prevailing Highest Bid, as defined below, shall be
                                           in increments of value (including revised treatment
                                           under the Plan) no less than the value of the Bid
                                           Protections, if any, plus a value equal to $250,000,
                                           as determined by the Debtors in an exercise of their
                                           business judgment, after consultation with the
                                           Consultation Parties and the Committee.

                                   •       Conclusion of Each Overbid Round. Upon the
                                           solicitation of each round of Overbids, the Debtors
                                           may announce a deadline (as the Debtors may, in
                                           their business judgment, after consultation with the
                                           Consultation Parties and the Committee, extend
                                           from time to time, the “Overbid Round Deadline”)
                                           by which time any Overbids must be submitted to
                                           the Debtors.

                                   •       Overbid Alterations. An Overbid may contain
                                           alterations, modifications, additions, or deletions of
                                           any terms of the Bid no less favorable to the
                                           Debtors’ estates than any prior Qualified Bid or
                                           Overbid, as determined in the Debtors’ business
                                           judgment, after consultation with the Consultation
                                           Parties and the Committee, but shall otherwise
                                           comply with the terms of the Bidding Procedures.

                                   •       Announcing Highest Bid. Subsequent to each
                                           Overbid Round Deadline, the Debtors shall
                                           announce whether the Debtors have identified, after
                                           consultation with the Consultation Parties and the
                                           Committee, an Overbid as being higher or otherwise
                                           better than the Baseline Bid, in the initial Overbid
                                           round, or, in subsequent rounds, the Overbid
                                           previously designated by the Debtors as the
                                           prevailing highest or otherwise best Bid
                                           (the “Prevailing Highest Bid”). The Debtors shall
                                           describe to all Qualified Bidders the material terms
                                           of any new Overbid designated by the Debtors as
                                           the Prevailing Highest Bid as well as the value
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                                          attributable by the Debtors to such Prevailing
                                          Highest Bid based on, among other things, the Bid
                                          Assessment Criteria.

                           (C)     The Debtors reserve the right, in their business judgment to
                                   adjourn the Auction one or more times, after consultation
                                   with the Consultation Parties and the Committee to, among
                                   other things (i) facilitate discussions between the Debtors
                                   and Qualified Bidders, (ii) allow Qualified Bidders to
                                   consider how they wish to proceed, and (iii) provide
                                   Qualified Bidders the opportunity to provide the Debtors
                                   with such additional evidence as the Debtors, in their
                                   business judgment, may require, that the Qualified Bidder
                                   has sufficient internal resources or has received sufficient
                                   non-contingent debt and/or equity funding commitments to
                                   consummate the proposed Transaction at the prevailing
                                   Overbid amount.

                           (D)     Closing the Auction: The Auction shall continue until
                                   there is only one Qualified Bid that the Debtors determine,
                                   in their business judgment, after consultation with the
                                   Consultation Parties and the Committee, to be the highest
                                   or otherwise best Qualified Bid for the Assets. Such
                                   Qualified Bid shall be declared the “Winning Bid,” and
                                   such Qualified Bidder, the “Winning Bidder,” and at which
                                   point the Auction will be closed. The Auction shall not
                                   close unless and until all Qualified Bidders have been given
                                   a reasonable opportunity to submit an Overbid at the
                                   Auction to the then Prevailing Highest Bid.            Such
                                   acceptance by the Debtors of the Winning Bid is
                                   conditioned upon approval by the Court of the Winning
                                   Bid. For the avoidance of doubt, nothing in the Bidding
                                   Procedures shall prevent the Debtors from exercising their
                                   respective fiduciary duties under applicable law. As soon
                                   as reasonably practicable after closing the Auction, the
                                   Debtors shall finalize definitive documentation to
                                   implement the terms of the Winning Bid, and, as
                                   applicable, cause such definitive documentation to be filed
                                   with the Court.

                           (E)     No Collusion; Good-Faith Bona Fide Offer:               Each
                                   Qualified Bidder participating at the Auction will be
                                   required to confirm on the record at the Auction that (i) it
                                   has not engaged in any collusion with respect to the
                                   bidding, and (ii) its Qualified Bid is a good-faith bona fide

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                                       offer and it intends to consummate the proposed
                                       Transaction if selected as the Winning Bidder.

                   (i)   Expense Reimbursement, Work Fee, and Breakup Fee.

                         (i)    Upon entry of the Bidding Procedures Order and up until 2 days
                                prior to the Auction, the Debtors shall be authorized, but not
                                obligated, in an exercise of their business judgment, to (a) select
                                one or more Acceptable Bidder to act as a Stalking Horse Bidder in
                                connection with the Auction and (b) in connection with any staking
                                horse agreement with a Stalking Horse Bidder, (x) provide a
                                breakup fee (the “Breakup Fee”), (y) agree to reimburse the
                                reasonable and documented out-of-pocket fees and expenses
                                and/or (z) agree to pay a “work fee” or other similar cash fee (the
                                “Work Fee”). The aggregate amount that may be paid to any or all
                                stalking horse bidders on account of (x) - (z) shall not exceed three
                                percent of the proposed Purchase Price.



                   (j)   Backup Bidder (Local Bankr. R. 6004-1(c)(i)(E)).

                         (i)    Notwithstanding anything in the Bidding Procedures to the
                                contrary, if an Auction is conducted, the Qualified Bidder with the
                                next-highest or otherwise second-best Qualified Bid at the Auction
                                for the Assets or the Reorganized Debtors’ equity interests, as
                                determined by the Debtors in the exercise of their business
                                judgment after consultation with the Consultation Parties and the
                                Committee, shall be required to serve as a backup bidder (the
                                “Backup Bidder”) until such time that the Transaction is
                                consummated through confirmation of the Plan, and each Qualified
                                Bidder shall agree and be deemed to agree to be the Backup Bidder
                                if so designated by the Debtors.

                         (ii)   The identity of the Backup Bidder and the amount and material
                                terms of the Qualified Bid of the Backup Bidder shall be
                                announced by the Debtors, after consultation with the Consultation
                                Parties and the Committee, at the conclusion of the Auction at the
                                same time the Debtors announce the identity of the Successful
                                Bidder. The Backup Bidder shall be required to keep its Qualified
                                Bid (or if the Backup Bidder submits one or more Overbids at the
                                Auction, its final Overbid) open and irrevocable until such time
                                that the Transaction is consummated through confirmation of the
                                Plan. The Backup Bidder’s Deposit shall be held in escrow
                                pending confirmation of the Plan.


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                         (iii)   If a Successful Bidder fails to consummate the approved
                                 Transactions contemplated by its Successful Bid, the Debtors may
                                 select the Backup Bidder as the Successful Bidder, and such
                                 Backup Bidder shall be deemed a Successful Bidder for all
                                 purposes. The Debtors will be authorized, but not required, to
                                 consummate all transactions contemplated by the Bid of such
                                 Backup Bidder without further order of the Court or notice to any
                                 party. In such case, the defaulting Successful Bidder’s Deposit
                                 shall be forfeited to the Debtors, and the Debtors specifically
                                 reserve the right to seek all available remedies against the
                                 defaulting Successful Bidder, including with respect to specific
                                 performance.

                   (k)   Notice and Consultation Parties.

                         (i)     Information that must be provided to the “Notice Parties” under the
                                 Bidding Procedures must be provided to the following parties: (a)
                                 Buchanan Ingersoll & Rooney P.C., as counsel to the DIP Agent,
                                 and the Prepetition Credit Agreement Agent; and (b) counsel to the
                                 Committee.

                         (ii)    The term “Consultation Parties” as used in the Bidding Procedures
                                 shall mean: (a) Keybank National Association, as agent under that
                                 certain DIP Credit Agreement and that certain Prepetition Credit
                                 Agreement, and its advisors; (b) the Committee and its advisors;
                                 and (c) the Prepetition Term Loan Lenders and their advisors.

                   (l)   Reservation of Rights (Local Bankr. R. 6004-1(c)(i)(D)). The Debtors
                         reserve their rights to modify the Bidding Procedures in their business
                         judgment, after consultation with the Consultation Parties and the
                         Committee, but only with the prior written consent of the Required
                         Lenders, as defined in the DIP Credit Agreement,in any manner that will
                         best promote the goals of the Bidding Procedures, or impose, at or prior to
                         the Auction, additional customary terms and conditions on a Transaction,
                         including, without limitation: (a) extending the deadlines set forth in the
                         Bidding Procedures; (b) adjourning the Auction at the Auction; (c) adding
                         procedural rules that are reasonably necessary or advisable under the
                         circumstances for conducting the Auction; (d) canceling the Auction; and
                         (e) rejecting any or all Bids or Qualified Bids.

                   (m)   Confirmation Hearing. A hearing to consider confirmation of the Plan
                         (the “Confirmation Hearing”) pursuant to which the Debtors and the
                         Winning Bidder will consummate the Transaction will be held on June 17,
                         2019, and otherwise in accordance with any scheduling order entered by
                         the Court regarding confirmation of the Plan. The Confirmation Hearing
                         may be continued to a later date by the Debtors, but only with the prior

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                          written consent of the Required Lenders, as defined in the DIP Credit
                          Agreement, by sending notice prior to, or making an announcement at, the
                          Confirmation Hearing. No further notice of any such continuance will be
                          required to be provided to any party. At the Confirmation Hearing, the
                          Debtors shall present the Plan, which shall incorporate the terms of the
                          Winning Bid, to the Court for confirmation.

        10.        Importantly, the Bidding Procedures recognize the Debtors’ fiduciary obligations

to maximize sale value, and, as such, do not impair the Debtors’ ability to consider all qualified

bid proposals, and, as noted, preserve the Debtors’ right to modify the Bidding Procedures as

necessary or appropriate to maximize value for the Debtors’ estates.

II.     Form and Manner of Notice.

        11.        The Auction, if any, shall take place at 9:00 a.m. (prevailing Eastern Time) on

May 20, 2019, at the offices of Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New

York 10022.

        12.        The Debtors further submit that notice of this Motion and the related hearing to

consider entry of the Bidding Procedures Order constitutes good and adequate notice of the

Auction and the proceedings with respect thereto in compliance with, and satisfaction of, the

applicable requirements of Bankruptcy Rule 2002 (the “Notice”). The Debtors propose that no

other or further notice of the Auction shall be required. Accordingly, the Debtors request that

this Court approve the form and manner of the Notice.

                                           Basis for Relief

I.      The Relief Sought in the Bidding Procedures Order Is in the Best Interests of the
        Debtors’ Estates and Should be Approved.

        13.        Adoption of the Bidding Procedures is a valid exercise of the Debtors’ business

judgment.     Courts have consistently held that a debtor’s business judgment is entitled to

substantial deference with respect to the procedures to be used in selling an estate’s assets. See,


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e.g., In re Culp, 550 B.R. 683, 697 (D. Del. 2015) (“‘In determining whether to authorize use,

sale or lease of property of the estate under Section 363, courts require the [Debtor] to show that

a sound business purpose justifies such actions.’ If the [Debtor’s] decision evidences a sound

business purpose, then the Bankruptcy Court should approve the sale.” (quoting In re

Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999)); In re Schipper, 933 F.2d

513, 515 (7th Cir. 1991) (“Under Section 363, the debtor in possession can sell property of the

estate . . . if he has an ‘articulated business justification’” (internal citations omitted)); In re

Martin, 91 F.3d 389, 395 (3d Cir. 1996) (quoting In re Schipper); see also In re Integrated

Resources, Inc., 147 B.R. 650, 656–7 (S.D.N.Y. 1992). The paramount goal in any proposed

sale of property of the estate is to maximize the proceeds received by the estate. See In re Adams

Res. Expl. Corp., No. 17-10866 (KG), at 12 (Bankr. D. Del. 2017) (“The relief requested in

the Sale Motion….is a necessary and appropriate step toward enabling the Debtor

to maximize the value of its bankruptcy estate, and it is in the best interests of the Debtor,

its estate, and its creditors.”); Integrated Resources, 147 B.R. at 659 (“[I]t is a well-established

principle of bankruptcy law that the objective of the bankruptcy rules and the trustee’s duty with

respect to such sales is to obtain the highest price or greatest overall benefit possible for the

estate.”); In re Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998) (“The purpose of procedural

bidding orders is to facilitate an open and fair public sale designed to maximize value for the

estate.”).

        14.        To that end, courts uniformly recognize that procedures intended to enhance

competitive bidding are consistent with the goal of maximizing the value received by the estate

and therefore are appropriate in the context of bankruptcy transactions. See, e.g., In re Dura

Auto. Sys., 379 B.R. 257, 263 (Bankr. D. Del. 2007); Integrated Resources, 147 B.R. at 659

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(bidding procedures “are important tools to encourage bidding and to maximize the value of the

debtor’s assets”).

        15.        The Debtors believe that the proposed Bidding Procedures will promote active

bidding from seriously interested parties and will maximize the value of the Assets for the

benefit of the Debtors’ estates. The proposed Bidding Procedures will allow the Debtors to

conduct the Auction in a controlled, fair, and open fashion that will encourage participation by

financially capable bidders who can demonstrate the ability to close a Transaction. In particular,

the Bidding Procedures contemplate an open auction process with minimum barriers to entry and

provide potential bidding parties with sufficient time to perform due diligence and acquire the

information necessary to submit a timely and well-informed bid.

        16.        Additionally, under the DIP Credit Agreement, the Debtors are required to

achieve certain Milestones, as defined in the DIP Credit Agreement. These Milestones were

heavily negotiated between the Debtors and the DIP Lenders at arm’s length. One Milestone

requires the Debtors to obtain the Court’s approval of the Bidding Procedures in form and

substance reasonably acceptable to the DIP Lenders by April 12, 2019. Failure to satisfy the

Milestone constitutes an Event of Default, as defined in the DIP Credit Agreement, which, would

permit the DIP Lenders to exercise remedies that would imperil the Debtors’ efforts to

reorganize, possibly leading to a liquidation. The failure to approve the Bidding Procedures will

therefore imperil the Debtors’ prospects of a successful reorganization, and the approval of the

Bidding Procedures would maximize the estate’s value.

        17.        The Debtors submit that the proposed Bidding Procedures will encourage

competitive bidding, are appropriate under the relevant standards governing auction proceedings

and bidding incentives in bankruptcy proceedings, and are consistent with the controlling legal

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standard.     Accordingly, the Court should approve the Debtors’ adoption of the Bidding

Procedures as a valid exercise of the Debtors’ business judgment.

II.     The Expense Reimbursement, Work Fee, and Breakup Fee Have a Sound Business
        Purpose and Should be Approved.

        18.        The Debtors also seek authority, but not direction, pursuant to the Bidding

Procedures to pay a Breakup Fee, Expense Reimbursement, and Work Fee in an aggregate

amount not to exceed 3 percent of any proposed Purchase Price. The Debtors seek to utilize such

authority only in their discretion if the Debtors determine in their business judgment that any

such Bid Protection will facilitate a competitive bidding and Auction process. Payment of

expense reimbursements and work fees, like those proposed here, in a bidding process for sales

is appropriate under section 363(b) of the Bankruptcy Code so long as such payment is a valid

exercise of the Debtors’ business judgment. Under section 363(b), the Debtors may use, sell, or

lease estate property outside of the ordinary court of business so long as they articulate a sound

business reason for doing so. See, e.g., In re Culp, 550 B.R. at 697; In re Network Access Corp.,

330 B.R. 67, 74-75 (Bankr. D. Del. 2005).

        19.        The Debtors believe that granting authority to pay the Expense Reimbursement

and Work Fee is in the best interests of their estates. The Acceptable Bidders will expend time

and resources negotiating, drafting, and performing due diligence activities necessitated by the

Auction, despite the fact that the bids will be subject not only to Court approval, but to

overbidding by third parties. Without the Expense Reimbursement or Work Fee, an Acceptable

Bidder may elect not to participate in the process at all to the detriment of the Debtors’ estates.

Further, the Bidding Procedures do not require the payment of the Expense Reimbursement or

Work Fee, the Debtors simply have the option of paying or otherwise incurring such obligation

in the event that they determine, in their business judgment, that offering an Acceptable Bidder
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Expense Reimbursement or a Work Fee will result in a competitive bidding process that will

maximize value of the Debtors’ estates. In that instance, the value created for the Debtors’

estates will likely greatly outweigh the cost of any Expense Reimbursement or Work Fee.

          20.      The Debtors further seek authority, but not direction, to pay a Breakup Fee, in the

event that the Debtors elect to enter into a stalking horse arrangement with a third-party bidder or

with the DIP Lenders. “Break-up fees are important tools to encourage bidding and to maximize

the value of the debtor’s assets . . . .      [i]n fact, because the . . . corporation has a duty to

encourage bidding, break-up fees can be necessary to discharge [such] duties to maximize

value.”     Integrated Resources, 147 B.R. at 659–60 (emphasis added).              Specifically, bid

protections like the Breakup Fee “may be legitimately necessary to convince a ‘white knight’

bidder to enter the bidding by providing some form of compensation for the risks it is

undertaking.” In re 995 Fifth Ave. Assocs., L.P., 96 B.R. 24, 28 (Bankr. S.D.N.Y. 1989)

(quotations omitted); see also Integrated Resources, 147 B.R. at 660–61 (bid protections can

prompt bidders to commence negotiations and “ensure that a bidder does not retract its bid”).

          21.      Courts in this jurisdiction regularly approve such bidding protections in

connection with proposed bankruptcy sales where a proposed fee or reimbursement provides a

benefit to the estate. See, In re Reliant Energy Channelview LP, 594 F.3d 200, 206 (3d Cir.

2010); In re O’Brien Environmental Energy, Inc., 181 F.3d 527, 535 (3d Cir. 1999). The

Debtors believe that in instances when there is a Stalking Horse Bidder, the bid protections are

necessary and together provide the Debtors’ estates a floor for further bidding that may increase

the consideration given in exchange for the Assets.

          22.      Courts in other jurisdictions have considered three questions in connection with

analyzing breakup fees: “(1) is the relationship of the parties who negotiated the break-up fee

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tainted by self-dealing or manipulation; (2) does the fee hamper, rather than encourage, bidding;

(3) is the amount of the fee unreasonable relative to the proposed purchase price?” Integrated

Res., 147 B.R. at 657. The answer to each of these questions in this instance is emphatically

“no.” First, the Debtors propose to pay the Breakup Fee only in the event they determine it

would be beneficial to enter into a stalking horse arrangement. Second, the Breakup Fee would

encourage, rather than hamper, bidding given it falls within the range considered reasonable by

bankruptcy courts. Granting the Debtors authority to offer the Breakup Fee sends a strong signal

to the market that the Debtors are serious about running a competitive auction process to

maximize value. Third, the aggregate amount of the Breakup Fee, if offered at all, and any

Expense Reimbursement and/or Work Fee, will not exceed 3 percent of any proposed Purchase

Price, an amount that is well within market for transactions of this type.         See In re Metaldyne

Corp., 409 B.R. 661, 670 (Bankr. S.D.N.Y. 2009) (“The total amount of the proposed break-up

fee and expense reimbursement is less than 3% of the total purchase price. This falls within the

range of what courts in this jurisdiction have found to be [an] acceptable break-up fees.”). The

Debtors’ submit the standard articulated in Integrated Resources, is consistent with caselaw in

this jurisdiction, and probative of whether a breakup fee provides a benefit to the estate.

        23.        Furthermore, the Debtors believe that the breakup fee is fair and reasonable in

amount in light of the size and nature of the Assets, and the efforts that will be have been

expended by any Stalking Horse Bidder in connection with their efforts to facilitate a sale of the

Debtors’ assets, which will serve as the baseline for other bids for the assets.

        24.        Similar types of bid protections have been approved by this Court. See, e.g., In re

Things Remembered, Inc., Case No 19-10234 (KG) (Bankr. D. Del. Feb. 21, 2019) (authorizing

stalking horse break-up fee and expense reimbursement); In re Haggen Holdings, LLC, No. 15-

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11874 (KG) (Bankr. D. Del. Oct. 19, 2015) (same); In re AgFeed USA, LLC, No. 13-11761

(BLS) (Bankr. D. Del. Aug. 1, 2013) (authorizing breakup fee of 3% and expense reimbursement

of 1%); In re Solyndra LLC, No. 11-12799 (MFW) (Bankr. D. Del. Sept. 28, 2012) (authorizing

break-up fee of 2.6%); In re AES Thames, L.L.C., No. 11-10334 (KJC) (Bankr. D. Del. Nov. 16,

2011) (authorizing a break-up fee of $300,000 in the event the debtor entered into a stalking

horse purchase agreement with a purchase price of at least $10 million); In re Magic Brands,

LLC, No. 10-11310 (BLS) (Bankr. D. Del. May 18, 2010) (authorizing stalking horse expense

reimbursement).

        25.        Accordingly, for the reasons set forth above, the Court should grant the Debtors

the authority to incur and pay the Expense Reimbursement, Work Fee, and Breakup Fee

obligations in their discretion as a valid exercise of the Debtors’ business judgment and

otherwise within the controlling legal standards in this district.

III.    The Form and Manner of the Notice Should Be Approved.

        26.        Pursuant to Bankruptcy Rule 2002(a), the Debtors are required to provide

creditors with 21 days’ notice of the Auction. Pursuant to Bankruptcy Rule 2002(c), such notice

must include the time and place of the Auction and the deadline for filing any objections to the

relief requested herein.

        27.        The Debtors submit that notice of this Motion and the related hearing to consider

entry of the Bidding Procedures Order constitutes good and adequate notice of the Auction and

the proceedings with respect thereto in compliance with, and satisfaction of, the applicable

requirements of Bankruptcy Rule 2002. Accordingly, no further notice is necessary and the

Debtors request that this Court approve the form and manner of the Notice of the Auction.



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                                        Reservation of Rights

        28.        Nothing contained in this motion or any actions taken by the Debtors pursuant to

relief granted in the Order is intended or should be construed as: (a) an admission as to the

validity, priority, or amount of any particular claim against a Debtor entity; (b) a waiver of the

Debtors’ or any other party-in-interest’s rights to dispute any particular claim on any grounds; (c)

a promise or requirement to pay any particular claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this motion; (e) a request or authorization to

assume any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f)

a waiver or limitation of the Debtors’ or any other party-in-interest’s rights under the Bankruptcy

Code or any other applicable law; or (g) a concession by the Debtors or any other party-in-

interest that any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to

this motion are valid and the Debtors and all other parties-in-interest expressly reserve their

rights to contest the extent, validity, or perfection, or to seek avoidance of all such liens. If the

Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

intended and should not be construed as an admission as to the validity, priority, or amount of

any particular claim or a waiver of the Debtors’ or any other party-in-interest’s rights to

subsequently dispute such claim.

                                                Notice

        29.        The Debtors will provide notice of this motion to: (a) the Office of the U.S.

Trustee for the District of Delaware; (b) the holders of the 50 largest unsecured claims against

the Debtors (on a consolidated basis); (c) the Agent for the Debtors’ prepetition secured credit

facility; (d) counsel to the Agent for the Debtors’ prepetition secured credit facility; (e) counsel

to the DIP Financing Agent; (f) the United States Attorney’s Office for the District of Delaware;

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(g) the Internal Revenue Service; (h) the United States Securities and Exchange Commission;

(i) the state attorneys general for all states in which the Debtors conduct business; (j) any party

that asserts a lien on the Debtors’ assets; and (k) any party that requests service pursuant to

Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

other or further notice need be given.

                                           No Prior Request

        30.        No prior request for the relief sought in this motion has been made to this or any

other court.

                              [Remainder of page intentionally left blank]




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        WHEREFORE, the Debtors respectfully request entry of the Bidding Procedures Order,

substantially in the form attached hereto as Exhibit A, (a) granting the relief requested herein

and (b) granting such other relief as is just and proper.

Dated: March 11, 2019                  /s/ Michael W. Yurkewicz
Wilmington, Delaware                   Domenic E. Pacitti (DE Bar No. 3989)
                                       Michael W. Yurkewicz (DE Bar No. 4165)
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                                       Proposed Co-Counsel for the Debtors and Debtors in Possession




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